Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 1 of 75 Page ID
                                 #:1312




   1   CENTER FOR HUMAN RIGHTS & CONSTITUTIONAL LAW
       Carlos Holguín (Cal. Bar No. 90754)
   2   Peter A. Schey (Cal. Bar No. 58232)
       Marchela Iahdjian (Cal. Bar No. 295595)
   3   256 South Occidental Boulevard
       Los Angeles, CA 90057
   4   Telephone: (213) 388-8693
       Facsimile: (213) 386-9484
   5   Email:crholguin@centerforhumanrights.org
              pschey@centerforhumanrights.org
   6          marchela@centerforhumanrights.org
   7   ORRICK, HERRINGTON & SUTCLIFFE LLP
       William A. Molinski (Cal. Bar No. 145186)
   8   wmolinski@orrick.com
       T. Wayne Harman (Cal. Bar No. 254089)
   9   wharman@orrick.com
       Elena Garcia (Cal. Bar No. 299680)
  10   egarcia@orrick.com
       777 South Figueroa Street, Suite 3200
  11   Los Angeles, CA 90017
       Telephone: (213) 629-2020
  12
       Attorneys for Plaintiffs
  13   (listing continues on following page)
  14
  15
                              UNITED STATES DISTRICT COURT
  16
                             CENTRAL DISTRICT OF CALIFORNIA
  17
                                       WESTERN DIVISION
  18
  19
       Jenny Lisette Flores, et al.,               Case No. CV 85-4544-RJK(Px)
  20
                        Plaintiffs,                Plaintiffs’ First Set Of Exhibits In
  21                                               Support Of Motion For Class-Wide
             v.                                    Enforcement Of Settlement [Part 9:
  22                                               Exhibits 25-26]
       Jeh Johnson, Secretary, U.S. Department
  23   of Homeland Security, et al.,               Hearing: March 9, 2015
                                                   Time:    TBD
  24                    Defendants.                Dept:    TBD
  25
  26
                                       PUBLIC VERSION
  27
                                                              PLAINTIFFS’ FIRST SET OF EXHIBITS IN
  28                                                         SUPPORT OF MOTION FOR CLASS-WIDE
                                                                   ENFORCEMENT OF SETTLEMENT
                                                                          [PART 9: EXHIBITS 25-26]
                                                                              CV 85-4544-RJK(PX)
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 2 of 75 Page ID
                                 #:1313




   1
   2   Plaintiffs’ counsel, continued:
   3   LA RAZA CENTRO LEGAL, INC.
       Michael S. Sorgen
   4   Maria Victoria Castro
       Amanda Alvarado Ford
   5   474 Valencia Street, #295
       San Francisco, CA 94103
   6   Telephone: (415) 575-3500
       Facsimile: (415) 255-7593
   7
       Of counsel:
   8
       YOUTH LAW CENTER
   9   Alice Bussiere
       Virginia Corrigan
  10   200 Pine Street, Suite 300
       San Francisco, CA 94104
  11   Telephone: (415) 543-3379 x 3903
  12   RANJANA NATARAJAN
       Clinical Professor
  13   Director, Civil Rights Clinic
       University of Texas School of Law
  14   727 E. Dean Keeton St.
       Austin TX 78705
  15   Telephone: (512) 232-7222
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
                                                        PLAINTIFFS’ FIRST SET OF EXHIBITS IN
  28                                                   SUPPORT OF MOTION FOR CLASS-WIDE
                                                             ENFORCEMENT OF SETTLEMENT
                                                                    [PART 9: EXHIBITS 25-26]
                                                                        CV 85-4544-RJK(PX)
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 3 of 75 Page ID
                                 #:1314




   1                                               INDEX TO EXHIBITS
   2   1     Settlement of class action, January 17, 1997 ................................................... 1
   3
       2     Order approving settlement of class action, January 28, 1997....................... 47
   4
       3     Stipulation extending settlement of class action, December 7,
   5         2001.............................................................................................................. 53
   6
       4     Plaintiffs’ letter requesting pre-enforcement meeting, October
   7         15, 2014........................................................................................................ 58
   8   5     Plaintiffs’ letter posing questions re: implementation of class
   9         action settlement, October 2, 2014................................................................ 64

  10   6     Defendants’ response to questions re: implementation of class
             action settlement, November 3, 2014 ............................................................ 85
  11
  12   7     ICE opposition to bond redetermination, July 24, 2014 .............................. 107
  13   8     ICE opposition to bond redetermination, October 8, 2014 .......................... 158
  14   9     U.S. Immigration & Customs Enforcement, news release,
  15         November 18, 4014..................................................................................... 210
  16   10    Declaration of Bridget Cambria, November 7, 2014 ................................... 211
  17   11    Declaration of Carol Anne Donohoe, November 15, 2014 .......................... 219
  18
       12    Declaration of Jeimi Hernandez-Morales, September 20, 2014................... 227
  19
       13    Declaration of Mayoli Contreras de Torres, September 19,
  20         2014............................................................................................................ 232
  21
       14    Declaration of Maria Figueroa Solis, September 19, 2014 .......................... 238
  22
       15    Declaration of Mirna Lorena Medrano, September 19, 2014....................... 244
  23
       16    Affidavit of Adriana Piñon re: Texas Public Information Act
  24
             Request, September 3, 2014 ....................................................................... 248
  25
       17    Declaration of Barbara Hines, January 14, 2014 ......................................... 253
  26
  27   18    Declaration of Digna Valle-Alvarado, January 9, 2015............................... 301
                                                                                       PLAINTIFFS’ FIRST SET OF EXHIBITS IN
  28                                                                                  SUPPORT OF MOTION FOR CLASS-WIDE
                                                                 i                          ENFORCEMENT OF SETTLEMENT
                                                                                                   [PART 9: EXHIBITS 25-26]
                                                                                                       CV 85-4544-RJK(PX)
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 4 of 75 Page ID
                                 #:1315




   1   19    Declaration of Hilda Ramirez-Mendez, January 9, 2015............................. 305
   2
       20    Declaration of Reyna Elizabeth Alvarado, January 8, 2015 ........................ 309
   3
       21    Karnes Attorney Visitation Form and Guidelines, January 9,
   4         2015............................................................................................................ 312
   5
       22    Declaration of Jonathan Hiskey, September 22, 2014 ................................. 314
   6
       23    Declaration of Carlos Holguin, January 13, 2015........................................ 319
   7
       24    Declaration of Luis H. Zayas, December 10, 2014...................................... 323
   8
   9   25    Declaration of Generva Gilden Berger, January 12, 2015 ........................... 366

  10   26    Dilley Resident Handbook .......................................................................... 383
  11   27    Memorandum of Understanding Re: Compromise of Class
  12         Action: Conditions of Detention, November 30, 1987 ................................ 433
  13   28    Declaration of Anne Chandler, December 1, 2014 ...................................... 470
  14   29    Declaration of Allison N. Boyle, November 24, 2014................................. 475
  15
       30    Declaration of Brittany Perkins, November 28, 2014.................................. 490
  16
       31    Declaration of Clayton N. Matheson, November 24, 2014.......................... 497
  17
       32    Declaration of Kate Lincoln-Goldfinch, December 2, 2014 ........................ 504
  18
  19   33    Declaration of Melissa J. Cuadrado, November 26, 2014............................ 512
  20   34    Declaration of Scott T. Williams, December 1, 2014 .................................. 522
  21   35    Declaration of Virginia Marie Raymond, December 13, 2014 .................... 527
  22
       36    R.I.L.R. v. Johnson, No. 15-CV-00011-JEB (D.D.C.),
  23         Memorandum of Points & Authorities in Support of Motion
             for Preliminary Injunction, December 16, 2014 .......................................... 530
  24
  25   37    Flores Settlement Agreement and DHS Custody: Key Flores
             Provisions & DHS Noncompliance - Report of Lutheran
  26         Immigration and Refugee Services ............................................................. 570
  27
                                                                                      PLAINTIFFS’ FIRST SET OF EXHIBITS IN
  28                                                                                 SUPPORT OF MOTION FOR CLASS-WIDE
                                                                ii                         ENFORCEMENT OF SETTLEMENT
                                                                                                  [PART 9: EXHIBITS 25-26]
                                                                                                      CV 85-4544-RJK(PX)
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 5 of 75 Page ID
                                 #:1316




   1   38    Declaration of Santos Coj-Morente, January 8, 2015 .................................. 577
   2
       39    Declaration of Santos Benitez de Texin, January 8, 2015............................ 580
   3
       40    Declaration of Maria Gomez-Sequin, January 8, 2015 ................................ 583
   4
       41    Declaration of Esmeralda Garcia Miranda, January 9, 2015........................ 586
   5
   6   42    Declaration of Ana Zulin-Mendoza, January 9, 2015.................................. 590

   7   43    Declaration OF AURA ELIZABETH de la Cruz-Garcia,
             January 9, 2015........................................................................................... 594
   8
   9   44    Declaration of Aura Flores de Escalante, January 9, 2015........................... 597

  10   45    Declaration of Hilda Lizeth Melgar-Perez, January 9, 2015........................ 602
  11   46    Declaration of Mayde Martinez-Miguel, January 8, 2015 ........................... 606
  12
       47    Declaration of Clivian Melissa Contreras-Casco, January 8,
  13         2015............................................................................................................ 609
  14   48    Declaration of Sandra Leticia Martinez Altunez, January 9,
  15         2015............................................................................................................ 611
  16   49    Declaration of Lucia Bernal-Santiago, January 8, 2015 .............................. 613
  17   50    Declaration of Silvia Araceli Miranda-DeBravo, January 8,
  18         2015............................................................................................................ 617
  19   51    Declaration of Oscar Fabian Cuestas Melgar, January 9, 2015.................... 621
  20   52    Declaration of Jefferson Ernesto Escalante Flores, January 9,
  21         2015............................................................................................................ 624
  22   53    Declaration of Lauren Beth Connell, November 26, 2014........................... 627
  23
  24
  25
  26
  27
                                                                                      PLAINTIFFS’ FIRST SET OF EXHIBITS IN
  28                                                                                 SUPPORT OF MOTION FOR CLASS-WIDE
                                                                iii                        ENFORCEMENT OF SETTLEMENT
                                                                                                  [PART 9: EXHIBITS 25-26]
                                                                                                      CV 85-4544-RJK(PX)
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 6 of 75 Page ID
                                 #:1317




   1                                            CENTER FOR HUMAN RIGHTS &
   2                                            CONSTITUTIONAL LAW
                                                Carlos Holguín
   3                                            Peter A. Schey
   4                                            Marchela Iahdjian

   5
   6
                                                 /s/ Carlos Holguín
   7                                            Attorneys for Plaintiffs
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
                                                             PLAINTIFFS’ FIRST SET OF EXHIBITS IN
  28                                                        SUPPORT OF MOTION FOR CLASS-WIDE
                                           iv                     ENFORCEMENT OF SETTLEMENT
                                                                         [PART 9: EXHIBITS 25-26]
                                                                             CV 85-4544-RJK(PX)
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 7 of 75 Page ID
                                 #:1318
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 8 of 75 Page ID
                                 #:1319




                                                       Exhibit 25 - Page 366
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 9 of 75 Page ID
                                 #:1320




                                                       Exhibit 25 - Page 367
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 10 of 75 Page ID
                                 #:1321




                                                        Exhibit 25 - Page 368
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 11 of 75 Page ID
                                 #:1322




                                                        Exhibit 25 - Page 369
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 12 of 75 Page ID
                                 #:1323




                                                        Exhibit 25 - Page 370
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 13 of 75 Page ID
                                 #:1324




                                                        Exhibit 25 - Page 371
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 14 of 75 Page ID
                                 #:1325




                                                        Exhibit 25 - Page 372
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 15 of 75 Page ID
                                 #:1326




                                                        Exhibit 25 - Page 373
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 16 of 75 Page ID
                                 #:1327




                                                        Exhibit 25 - Page 374
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 17 of 75 Page ID
                                 #:1328




                                                        Exhibit 25 - Page 375
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 18 of 75 Page ID
                                 #:1329




                                                        Exhibit 25 - Page 376
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 19 of 75 Page ID
                                 #:1330




                                                        Exhibit 25 - Page 377
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 20 of 75 Page ID
                                 #:1331




                                                        Exhibit 25 - Page 378
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 21 of 75 Page ID
                                 #:1332




                                                        Exhibit 25 - Page 379
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 22 of 75 Page ID
                                 #:1333




                                                        Exhibit 25 - Page 380
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 23 of 75 Page ID
                                 #:1334




                                                        Exhibit 25 - Page 381
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 24 of 75 Page ID
                                 #:1335




                                                        Exhibit 25 - Page 382
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 25 of 75 Page ID
                                 #:1336
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 26 of 75 Page ID
                                 #:1337




                                                        Exhibit 26 - Page 383
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 27 of 75 Page ID
                                 #:1338




                                                        Exhibit 26 - Page 384
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 28 of 75 Page ID
                                 #:1339




                                                        Exhibit 26 - Page 385
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 29 of 75 Page ID
                                 #:1340




                                                        Exhibit 26 - Page 386
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 30 of 75 Page ID
                                 #:1341




                                                        Exhibit 26 - Page 387
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 31 of 75 Page ID
                                 #:1342




                                                        Exhibit 26 - Page 388
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 32 of 75 Page ID
                                 #:1343




                                                        Exhibit 26 - Page 389
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 33 of 75 Page ID
                                 #:1344




                                                        Exhibit 26 - Page 390
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 34 of 75 Page ID
                                 #:1345




                                                        Exhibit 26 - Page 391
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 35 of 75 Page ID
                                 #:1346




                                                        Exhibit 26 - Page 392
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 36 of 75 Page ID
                                 #:1347




                                                        Exhibit 26 - Page 393
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 37 of 75 Page ID
                                 #:1348




                                                        Exhibit 26 - Page 394
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 38 of 75 Page ID
                                 #:1349




                                                        Exhibit 26 - Page 395
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 39 of 75 Page ID
                                 #:1350




                                                        Exhibit 26 - Page 396
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 40 of 75 Page ID
                                 #:1351




                                                        Exhibit 26 - Page 397
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 41 of 75 Page ID
                                 #:1352




                                                        Exhibit 26 - Page 398
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 42 of 75 Page ID
                                 #:1353




                                                        Exhibit 26 - Page 399
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 43 of 75 Page ID
                                 #:1354




                                                        Exhibit 26 - Page 400
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 44 of 75 Page ID
                                 #:1355




                                                        Exhibit 26 - Page 401
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 45 of 75 Page ID
                                 #:1356




                                                        Exhibit 26 - Page 402
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 46 of 75 Page ID
                                 #:1357




                                                        Exhibit 26 - Page 403
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 47 of 75 Page ID
                                 #:1358




                                                        Exhibit 26 - Page 404
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 48 of 75 Page ID
                                 #:1359




                                                        Exhibit 26 - Page 405
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 49 of 75 Page ID
                                 #:1360




                                                        Exhibit 26 - Page 406
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 50 of 75 Page ID
                                 #:1361




                                                        Exhibit 26 - Page 407
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 51 of 75 Page ID
                                 #:1362




                                                        Exhibit 26 - Page 408
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 52 of 75 Page ID
                                 #:1363




                                                        Exhibit 26 - Page 409
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 53 of 75 Page ID
                                 #:1364




                                                        Exhibit 26 - Page 410
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 54 of 75 Page ID
                                 #:1365




                                                        Exhibit 26 - Page 411
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 55 of 75 Page ID
                                 #:1366




                                                        Exhibit 26 - Page 412
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 56 of 75 Page ID
                                 #:1367




                                                        Exhibit 26 - Page 413
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 57 of 75 Page ID
                                 #:1368




                                                        Exhibit 26 - Page 414
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 58 of 75 Page ID
                                 #:1369




                                                        Exhibit 26 - Page 415
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 59 of 75 Page ID
                                 #:1370




                                                        Exhibit 26 - Page 416
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 60 of 75 Page ID
                                 #:1371




                                                        Exhibit 26 - Page 417
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 61 of 75 Page ID
                                 #:1372




                                                        Exhibit 26 - Page 418
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 62 of 75 Page ID
                                 #:1373




                                                        Exhibit 26 - Page 419
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 63 of 75 Page ID
                                 #:1374




                                                        Exhibit 26 - Page 420
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 64 of 75 Page ID
                                 #:1375




                                                        Exhibit 26 - Page 421
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 65 of 75 Page ID
                                 #:1376




                                                        Exhibit 26 - Page 422
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 66 of 75 Page ID
                                 #:1377




                                                        Exhibit 26 - Page 423
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 67 of 75 Page ID
                                 #:1378




                                                        Exhibit 26 - Page 424
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 68 of 75 Page ID
                                 #:1379




                                                        Exhibit 26 - Page 425
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 69 of 75 Page ID
                                 #:1380




                                                        Exhibit 26 - Page 426
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 70 of 75 Page ID
                                 #:1381




                                                        Exhibit 26 - Page 427
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 71 of 75 Page ID
                                 #:1382




                                                        Exhibit 26 - Page 428
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 72 of 75 Page ID
                                 #:1383




                                                        Exhibit 26 - Page 429
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 73 of 75 Page ID
                                 #:1384




                                                        Exhibit 26 - Page 430
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 74 of 75 Page ID
                                 #:1385




                                                        Exhibit 26 - Page 431
Case 2:85-cv-04544-DMG-AGR Document 101-8 Filed 02/02/15 Page 75 of 75 Page ID
                                 #:1386




                                                        Exhibit 26 - Page 432
